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Filing # 191571011 E-Filed 02/08/2024 02:53:59 PM

IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT IN AND FOR
LEE COUNTY, FLORIDA

JEANETTE TREFZER, CASE NO.: 24-CA-001162
Plaintiff,
Vv.
COSTCO WHOLESALE
CORPORATION,
Defendant.
/
COMPLAINT

COMES NOW, Plaintiff; JEANETTE TREFZER (hereinafter referred to as “Plaintiff’),
by and through the undersigned attorneys, and hereby sues the Defendant, COSTCO
WHOLESALE CORPORATION (hereinafter referred to as “Defendant”), and alleges:

GENERAL ALLEGATIONS

l. This is an action for damages that exceeds the sum of FIFTY THOUSAND
DOLLARS ($50,000.00), exclusive of costs and interest. (The estimated value of Plaintiffs claim
is in excess of the minimum jurisdictional threshold required by this Court). Accordingly, Plaintiff
has entered “$50,001” in the civil cover sheet for the “estimated amount of the claim” as required
in the preamble to the civil cover sheet for jurisdictional purposes only (the Florida Supreme Court
has ordered that the estimated “amount of claim” be set forth in the civil cover sheet for data
collection and clerical purposes only). The actual value of Plaintiffs claim will be determined by
a fair and just jury in accordance with Article 1, Section 21, Fla. Const.

2. At all times material hereto, Plaintiff was and is a resident of Lee County, Florida

and was and is sui juris.
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3. At all times material hereto, the Defendant was a business registered to operate in
the state of Florida and maintained a property for the regular transaction of its business in Lee
County, Florida.

4. At all times material hereto, the Defendant was in exclusive possession, custody,
and control of the property located at 171 Cypress Lake Dr, Fort Myers, FL, 33907.

5. Atall times material hereto, Defendant was the owner and in possession of that certain
business located at 171 Cypress Lake Dr, Fort Myers, FL, 33907, open to the general public, including
the Plaintiff herein.

6. At all times material hereto, the Defendant expressly assumed responsibility for the
maintenance and cleanliness of the aforementioned premises and had a duty to maintain same in a
reasonably safe condition for the use of business invitees and guests.

Tes Venue is proper in this Court as the Defendant conducts its business operations
within Lee County, Florida and the incident giving rise to this action occurred in Lee County,
Florida.

FACTS GIVING RISE TO CAUSE OF ACTION

8. On or about May 19, 2023, Plaintiff visited Defendant’s premises located at the
above address as a business invitee and/or guest on the Defendant’s premises as indicated above.

9. At said time and place, Plaintiff was lawfully upon the premises of the Defendant,
who owed Plaintiff a nondelegable duty to exercise reasonable care for her safety.

10. This premises was, at that time and continues to be, in the custody of, and operated
by, the Defendant.

11. At that time and place, Plaintiff suddenly and without warning slipped and fell due
to a slippery substance on the floor.

12. Asaresult of the fall, Plaintiff sustained bodily injury.

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COUNT I - PREMISES LIABILITY AS TO COSTCO WHOLESALE CORPORATION

Plaintiff hereby incorporates and re-alleges paragraphs | through 12 above as though they
had been set forth herein and further states:

13. At all times material hereto, the Defendant by and through its employees, agents,
and assigns, had a non-delegable duty to Plaintiff, as its business invitee, to maintain its premises
in a reasonably safe condition, and to protect Plaintiff from dangers or defects about which the
Defendant was or should have been aware, through the use of ordinary and reasonable care. The
Defendant breached its duty to Plaintiff by committing one or more of the following acts or
omissions:

a. Negligently failing to maintain or adequately maintain the floor of the food court
area, thus creating a hazard to members of the public utilizing said premises, including the
Plaintiff herein, thus creating an unreasonably dangerous condition for Plaintiff;

b. Negligently creating a slip hazard to members of the public utilizing said premises,
including the Plaintiff herein, thus creating an unreasonably dangerous condition for Plaintiff;

c. Negligently failing to inspect or adequately inspect the floor of the food court, as
specified above, to ascertain whether the floor, which was poorly maintained, constituted a
hazard to patrons utilizing said floor of the food court area, including the Plaintiff herein, thus
creating an unreasonably dangerous condition to the Plaintiff;

d. Negligently failing to inspect or adequately warm the Plaintiff of the danger of the
floor of the food court, when Defendant knew or through the exercise of reasonable care should
have known that said premises’ interior flooring was unreasonably dangerous and that Plaintiff
was unaware of same;

e. Negligently failing to correct and/or inspect and/or maintain and/ repair and/or
adequately correct and/or replace the unreasonably dangerous condition of the floor of the food

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court, when said condition was either known to Defendant or had existed for a sufficient length
of time such that Defendant should have known of same had Defendant exercised reasonable
care;

f. Negligently failing to have adequate staff on duty and/or assigned to the task of
inspecting and/or maintaining the floor of the food court for dangerous conditions;

g. Negligently failing to train and/or inadequately training its employees to inspect,
maintain, and/or repair the floor of the food court for dangerous conditions;

h. Negligently failing to follow its own corporate policy(ies) regarding the dangerous
condition;

i. Negligently failing to have adequate policies in place to identify dangerous conditions
that may have accumulated on the floor of the food court despite knowledge of prior slip and
falls at the subject location caused by transitory foreign substances or other dangerous conditions
that were not timely identified by Defendant’s employees and corrected/remedied or for which
notice was given to guests at the premises;

j. Negligently failing to enforce its stated policy that all associates are responsible for
inspecting floor surfaces for dangerous conditions and correcting/remedying said conditions
and/or warning guests of said conditions;

k. Negligently failing to enforce its stated policy of “don’t pass it up, pick/clean it up”
with respect to dangerous conditions that accumulate on the flooring of the subject premises;

1. Negligently failing to act reasonably under the circumstances;

m. Negligently engaging in a mode of operations when Defendant knew, or should have
known, that said mode of operations would result in dangerous conditions to the general public,

including the Plaintiff herein;
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n. Negligently engaging in routine or regular practice of business that was not the
reasonable custom of the community;

o. Negligently failing to install, maintain and provide a safe flooring surface within the
subject premises;

p. Negligently selecting and/or utilizing flooring that failed to provide a non-slip surface
for customers, including the Plaintiff, when, based on Defendant’s experience, Defendant knew
or should have known spills were likely to occur on the flooring;

q. Negligently selecting and/or utilizing flooring that failed to properly disperse or
dissipate liquid substances, acting to make the flooring slick like ice, when, based on Defendant’s
experience, Defendant knew or should have known spills were likely to occur on the flooring; and

r. Negligently selecting and/or utilizing flooring that failed to tolerate liquid substances
and/or moisture, acting to make the flooring slick like ice, when, based on Defendant’s
experience, Defendant knew or should have known liquid substances and/or moisture were likely
to occur on the flooring.

14. As aresult, while Plaintiff was visiting Defendant’s business, she slipped and fell on
a liquid substance on the floor of the food court area, sustaining significant personal injuries.

15. As adirect and proximate result of the Defendant’s negligence as alleged above,
Plaintiff suffered injury including a permanent injury to the body as a whole, including but not
limited to pain and suffering of both a physical and mental nature, disability, physical impairment,
disfigurement, mental anguish, inconvenience, loss of capacity for the enjoyment of life, activation
of a latent condition, expense of hospitalization, medical and nursing care and treatment, loss of
earnings in the past, and loss of ability to earn money in the future. These losses are either

permanent or continuing and Plaintiff will suffer these losses in the future.
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WHEREFORE, Plaintiff, JEANETTE TREFZER, demands judgment in her favor against
the Defendant, COSTCO WHOLESALE CORPORATION, in excess of the minimum
jurisdictional limits of this Court for compensatory damages, including incidental and
consequential damages, post-judgement interest, costs, attorney’s fees, and for any other relief this
Court deems just and proper.

COUNT II - CLAIM OF NEGLIGENCE UNDER THE NON-DELEGABLE DUTY
DOCTRINE AGAINST DEFENDANT, COSTCO WHOLESALE CORPORATION

16. Plaintiff reasserts and realleges the allegations contained within paragraphs 1

through 12 as if fully set forth herein.

17. At said time and place, Defendant owned, controlled, and/or possessed the business
premises.
18. At said time and place, and by virtue of their ownership, control, and/or possession of

the premises, Defendant owed Plaintiff a common law non-delegable duty to maintain the premises
in areasonably safe condition.

19. At said time and place, Defendant breached these duties to Plaintiff by committing
one or more of the following omissions or commissions:

a. Negligently failing to maintain or adequately maintain the floor of the food court,
thus creating a hazard to members of the public utilizing said premises, including the Plaintiff
herein, thus creating an unreasonably dangerous condition for Plaintiff;

b. Negligently creating a slip hazard to members of the public utilizing said premises,
including the Plaintiff herein, thus creating an unreasonably dangerous condition for Plaintiff;

c. Negligently failing to inspect or adequately inspect the floor of the food court, as

specified above, to ascertain whether the floor of the food court, which was poorly maintained,
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constituted a hazard to patrons utilizing said food court area, including the Plaintiff herein, thus
creating an unreasonably dangerous condition to the Plaintiff;

d. Negligently failing to inspect or adequately warn the Plaintiff of the danger of the
floor of the food court, when Defendant knew or through the exercise of reasonable care should
have known that said premises’ interior flooring was unreasonably dangerous and that Plaintiff
was unaware of same;

e. Negligently failing to correct and/or inspect and/or maintain and/or repair and/or
adequately correct and/or replace the unreasonably dangerous condition of the floor of the food
court, when said condition was either known to Defendant or had existed for a sufficient length
of time such that Defendant should have known of same had Defendant exercised reasonable
care;

f. Negligently failing to have adequate staff on duty and/or assigned to the task of
inspecting and/or maintaining the floor of the food court for dangerous conditions;

g. Negligently failing to train and/or inadequately training its employees to inspect,
maintain, and/or repair the floor of the food court for dangerous conditions;

h. Negligently failing to follow its own corporate policy(ies) regarding the dangerous
condition;

i. Negligently failing to have adequate policies in place to identify dangerous conditions
that may have accumulated on the floor of the food court despite knowledge of prior slip and
falls at the subject location caused by transitory foreign substances or other dangerous conditions
that were not timely identified by Defendant’s employees and corrected/remedied or for which

notice was given to guests at the premises;
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j. Negligently failing to enforce its stated policy that all associates are responsible for
inspecting floor surfaces for dangerous conditions and correcting/remedying said conditions
and/or warning guests of said conditions;

k. Negligently failing to enforce its stated policy of “don’t pass it up, pick/clean it up”
with respect to dangerous conditions that accumulate on the flooring of the subject premises;

1. Negligently failing to assign specific associates/employees to the task of solely
monitoring the floor in the subject premises for dangerous conditions and correcting/remedying
said conditions and/or warning guests of said conditions similar to the way in which specific
associates/employees were assigned to the task of solely cleaning/sanitizing shopping carts and/or
handbaskets or counting the number of guests entering/floor of the food courting the premises
during the COVID-19 pandemic as safety precautions;

m. Negligently failing to act reasonably under the circumstances;

n. Negligently engaging in a mode of operations when Defendant knew, or should have
known, that said mode of operations would result in dangerous conditions to the general public,
including the Plaintiff herein;

o. Negligently engaging in routine or regular practice of business that was not the
reasonable custom of the community;

p. Negligently failing to install, maintain and provide a safe flooring surface within the
subject premises;

q. Negligently selecting and/or utilizing flooring that failed to provide a non-slip surface
for customers, including the Plaintiff, when, based on Defendant’s experience, Defendant knew

or should have known spills were likely to occur on the flooring;
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r. Negligently selecting and/or utilizing flooring that failed to properly disperse or
dissipate liquid substances, acting to make the flooring slick like ice, when, based on Defendant’s
experience, Defendant knew or should have known spills were likely to occur on the flooring; and

s. Negligently selecting and/or utilizing flooring that failed to tolerate liquid substances
and/or moisture, acting to make the flooring slick like ice, when, based on Defendant’s
experience, Defendant knew or should have known liquid substances and/or moisture were likely
to occur on the flooring.

20. As aresult, while Plaintiff was visiting Defendant’s business, she slipped and fell on
a liquid substance on the floor of the floor of the food court area, sustaining significant personal
injuries.

21. Asa direct and proximate result of the negligence of Defendant, Plaintiff suffered
bodily injury resulting in pain and suffering, disability, disfigurement, permanent and significant
scarring, mental anguish, loss of the capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatment, loss of earning, loss of the ability to earn money, and
aggravation of previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff, JEANETTE TREFZER, demands judgment in her favor against
the Defendant, COSTCO WHOLESALE CORPORATION, in excess of the minimum
jurisdictional limits of this Court for compensatory damages, including incidental and
consequential damages, post-judgement interest, costs, attorney’s fees, and for any other relief this
Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintiff, JEANETTE TREFZER, demands trial by jury on all issues triable as of right by

jury.
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Respectfully submitted this 8" day of February, 2024.

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